 

 

 

 

Case_ 9:18-cr-80108-RLR Document 6 Entered on FLSD Docket 06/18/2018 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRIC'_I` OF FLORIDA

CASE NO. 18-80108-CR-ROSENBERG/REINHART

/

 

 

UNITED STATES OF AMERICA \
F|LED by D'C_
vs.
JUN 1 8 013
LAWRENCE WEISBERG,
sTF.vEN M. LARIMoRE
Defendant. §§R‘S(FUF`EAB'?~T.`P.C§I

 

 

/

 

dRDER TO UNSEAL n vi _

THIS CAUSE came before the Court on the Motion of the United States to Unseal the
lnformation and all related documents in this matter. lt appearing to the Court that the motion is
Well taken and should be granted,

IT _IS HEREBY ORDERED that the lnformation and all related documents are hereby
unsealed and may be placed in the public portion of the court file. 4

DONE AND ORDERED in West Palm Beach, Florida, this [ f / day of June, 2018.

    
  

WILLIAM MATT EWMAN ‘
UNITED STATE MAGISTRATE JUDGE

